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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                  April 26, 2023
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION


VICTOR FRANK,                                   §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:22-CV-03463
                                                §
U.S. BANK, N.A.,                                §
                                                §
        Defendant.                              §


                                     FINAL JUDGMENT

       On April 25, 2023, the Court granted Defendant’s Motion to Dismiss and dismissed all

claims with prejudice. Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set

forth at the hearing, final judgment is hereby ENTERED for Defendant.

       IT IS SO ORDERED.

        Signed at Houston, Texas on April 25, 2023.


                                                      _______________________________
                                                      Keith P. Ellison
                                                      United States District Judge




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